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                                          18V.S.C.j 1956(h)                                                   '
                                          18U.S.C.j982(a)(1)
 UN ITED STATE S O F A M E RICA

 V S.                                                         FILED UN D ER SEA L

 A LEJAN D RO AN DR ADE CED EN O ,

                         D efendant.
                                 /

                                          IN FO RM A TIO N

        The U nited States chargesthat:

                                           C O UN T O NE
                                         (18U.S.C.j1956(h))
               Beginning in or around 2007 through in or around atleastN ovem ber2017,in Palm

 Beach County,in the Southern D istrictofFlorida,and elsewhere,the defendant,

                             ALEJA ND R O A N DR AD E C EDEN O ,

 did know ingly and w illfully com bine,conspire, confederate,and agree w ith others,known and

 unknown,to violate Title 18,United States Code,Section 1957,thatis,to know ingly engage and

 attem pt to engage in m onetary transactions by, through, or to a financial institution, affecting

 interstate and foreign com merce,in criminally derived property ofa value greaterthan $10,000,
 such propertyhavingbeen delived from a specified unlaw fulactivity,in violation ofTitle 18,United

 StatesCode,Section 1957.

               lt is further alleged thatthe specified unlaw ful activity is a violation ofthe Foreign

 Con-uptPracticesAct(tTCPA''),inviolationofTitle 15,UnitedStatesCode,Section78dd-3.
         AllinviolationofTitle l8,UnitedStatesCode,Section 1956(h).
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                                          FO R FEITU RE
                                      (18U.S.C.j982(a)(1))
               The allegations contained in this lnfonnation are re-alleged and incorporated by

 reference asthough fully setforth herein forthe purpose ofalleging forfeiture to the U nited States

 ofcertain property in w hich the defendant,A LEJA N D RO A ND R ADE CED EN O ,hasan interest.

               Upon convictionofaviolation ofTitle18,United StatesCode,Sedion 1956(h),as
 alleged in this lnform ation,the defendant,A LEJA ND R O A ND RA DE CED EN O ,shallforfeitto

 the United States any property,real or personal,involved in such offense,and/or any property

 traceabletosuchproperty,pursuanttoTitle 18,UnitedStatesCode,Section982(a)(1).
               If any property subjectto forfeiture,as a resultof any actor omission ofthe
 defendant,A LEJAN D RO A N DM DE C EDE NO ,

                   cannotbelocatedupon the exerciseofdue diligence,

               b. hasbeen transferred or sold to,or deposited w ith,a third party,

                   hasbeenplacedbeyondthejurisdiction oftheCourt,
               d. hasbeen substantially dim inished in value,or

               e. has been com m ingled w ith other property w hich cannot be divided w ithout

                   difficulty,

 the United States shallbe entitled to forfeiture of substitute property underthe provisions ofTitle

 21,United StatesCode,Section 853(p),asincorporated by Title 18,United StatesCode,Section
 982(b)(1).




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        AllpursuanttoTitle18,United StatesCode,Section 982(a)(1)andtheproceduressetforth
 in Title 21,U nited States Code, Section 853,as incorporated by Title l8,U nited States Code,

 Section 982(b)(l).

 SA N DR A M OSER ,A CTIN G CH IEF
 CRIM IN A L D IV ISION ,FRAU D SECTION
 U .S.D EPARTM EN T O F JU STICE


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       PA UL HA YD EN
       TrialA ttonzeys

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 By: /
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       A SISTA T U .S.A TTO RN EY
       U nited StatesA ttorney's O ffice
       Southern DistrictofFlorida




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  Case 9:17-cr-80242-RLR Document  STATES DISTRICT
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                                                O FFLSD   Docket
                                                    FLO R IDA    12/20/2017 Page 4 of 6

UNITED STATES O F A M ERICA                     CASE NO .


A LEJANDRO A NDRA DE CEDENO                     C ERTIFICATE O F TRIAL ATTO RNEY.
                          Defendant.
                                         /      Superseding CaseInform ation:


CourtDivision:(selectone)                       New Defendantts)                 Yes           No
                                                NumberofN ew Defendants
       M iam i             Key W est            Totalnumberofcounts
       FTL          X      W PB      FTP
       ldo hereby certify that:
                 Ihave carefully considered the allegationsofthe indictmept,the numberofdefendants,the number
                 ofprobablew itnessesand the legalcomplexitiesofthe lndlctm ent/lnform ation attached hereto.
       2.        lam alvare thatthe inform ation supplied ol?thisstatementwillbe relied upon by theJudgesofthis
                 Courtln setting theircalendarsand schedullng crim inaltrlalsunderthem andate ofthe Speedy Trial
                 Act,Title28 U.S.C.Section 3161.
                 Interpreter:     (YesqrNo)      YES
                 Llstlanguageand/ordlalect             N ISH
                 Thiscase willtake       0      daysforthe partiesto try.
       5.        Please check appropriate category and typeofoffense listed below :
                 (Checkonlyone)                                 (Checkonlyone)
       I         0 to 5 days                      X             Petty
       11        6 to 10 days                                   M inor
       1lI       11 to 20 days                                  M isdem .
       IV        21to 60 days                                   Felony
       V         61 daysand over
       6.        Hasthiscasebeenpreviously filed inthisDistrictCourt? (YesorNo) NO
       Ifyes:
       Judge:                                           Case No.
       (Attachcopyofdispositiveordel)
       Ha sacomplaintbeenfiledinthlsmatter?
       lfyes:
                                                        (YesorNo)         NO
       M agistrate CaseN o.
       Related M iscellaneousnumbers:
       Defendantts)infederalcustodyasof
       Defendantts)instatycpstody asof
       Rule20 from theDlstrlctof
       lsthisapotentialdeathpenaltycase?(YesorNo)                NO

                 D gesthiscaseoriginatefrom a m atterpending in theNorthern Region ofthe U .S.Attorney's Office
                 prlorto Octoberl4,2003?        Yes                        No    X



                                                        M l HAEL B. ADL R
                                                        A ISTANT     IT STA TES ATTORNEY
                                                        FL RIDA BAR N O.51264

*penalty Sheetts)attached                                                                             REV5/3/17
Case 9:17-cr-80242-RLR Document 3 Entered on FLSD Docket 12/20/2017 Page 5 of 6



                         U NITED STATE S D ISTR ICT C O U R T
                         SO U TH ERN D ISTR ICT O F FL O RID A

                                      PEN A LTY SHEET

 Defendant's N am e:A LEJAN D RO A N D RAD E CED EN O



 Count#1:

 Conspiracy to Com m itM onev Laundering

 Title 18.United StatesCode,1956th1

 *M ax.Penalty: Ten(10)years'imprisonment




  *Refers only to possible term ofincarceration,doesnotinclude possible fines,restitution,
          specialassessm ents,parole term s,or forfeituresthatm ay be applicable.
   Case 9:17-cr-80242-RLRSealed
                           Document 3 Entered on FLSD Docket 12/20/2017 Page 6 of 6


AO 455(Rev.01/09)WaiverofanIndictment

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               United StatesofAm erica
                           V.                                   CaseNo.
                                                                                                           ywNq
         ALEJANDRO ANDRADE C EDENO



                                         W AIVER OF AN INDICTM ENT

      Iunderstand thatIhavebeen accused ofoneormoreoffensespunishableby imprisonmentform orethan one
year.1wasadvised in open courtofmy rightsandthenatureoftheproposed chargesagainstm e.

        Afterreceiving thisadvice,lwaivem y rightto prosecution by indictmentand consentto prosecution by
inform ation.
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Date: iz.- 13 -7.-0l'
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